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                                UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF CALIFORNIA


ROBERT P. CRAWFORD II, as Personal
Representative to the Estate of GAIL HAHN,            Case No. 3:12-CV-00153-DMS (BGS)
et al,

     Plaintiff,                                       NOTICE OF APPEAL
v.

MASSAGE ENVY FRANCHISING, LLC, a
Delaware Limited Liability Company,

     Defendant.



      Objector Clifford L. Hardwick hereby appeals to the United States Court of Appeals for the


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Ninth Circuit from the Order of Final Approval of Amended Class Action Settlement (Doc. 393)

entered on July 5, 2016 and the Final Judgment (Doc. 396) entered on July 18, 2016.


                                                    /s/ Steve A. Miller
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                                    CERTIFICATE OF SERVICE

       I hereby certify that on August 4, 2016, I electronically filed and served the foregoing with the

Clerk of the Court of the United States District Court for the Southern District of California by using

the USDC CM/ECF system.


                                                            s/Steve A. Miller




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